JS 44 (Rev. 0/2)               Case: 3:23-cv-02052CIVIL
                                                     Doc #: COVER
                                                            1-3 Filed:SHEET
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
       Liberty Mutual Personal Insurance Company
                                                                                                            Jon Cross and Christina Cross
   (b) County of Residence of First Listed Plaintiff                                                       County of Residence of First Listed Defendant              Hardin
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

      Baker & Hostetler LLP, 200 South Civic Center Drive,
      Suite 1200, Columbus, Ohio 43215, (614) 462-5189
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                      PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                        Citizen of This State            1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                              Citizen of Another State            2          2   Incorporated and Principal Place       ✖   5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
✖ 110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                      INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                 820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                               830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                      New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                       840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                        LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending               Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                             or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                         871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                         462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                   Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3      Remanded from             4 Reinstated or                5 Transferred from    6 Multidistrict                       8 Multidistrict
       Proceeding          State Court                             Appellate Court             Reopened                       Another District        Litigation -                        Litigation -
                                                                                                                              (specify)               Transfer                            Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        28 U.S.C. Section 2201; Rule 57 of Fed. R. of Civ. P.
VI. CAUSE OF ACTION Brief description of cause:
                                        Seeking declaration related to contract.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:                    Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                                 DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
October 19, 2023                                                       /s/ Rodger L. Eckelberry
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                      JUDGE                           MAG. JUDGE
                        Case: 3:23-cv-02052 Doc #: 1-3 Filed: 10/19/23 2 of 2. PageID #: 60
                                            UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

I.                Civil Categories: (Please check one category only ).

                  1. ✔              General Civil
                  2.                Administrative Review/Social Security
                  3.                Habeas Corpus Death Penalty
        *If under Title 28, §2255, name the SENTENCING JUDGE:

                                                     CASE NUMBER:
II.    RELATED OR REFILED CASES. See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:       is RELATED to another PENDING civil case           is a REFILED case           was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)      Resident defendant. If the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY:
        Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiff's residence.
        COUNTY:

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                  AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                  CLEVELAND                  Lake, Lorain, Medina and Richland)
                  YOUNGSTOWN                 (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION

              ✔   TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             VanWert, Williams, Wood and Wyandot)
